   Case 2:07-md-01873-KDE-MBN Document 14419 Filed 06/18/10 Page 1 of 17




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA
                               NEW ORLEANS DIVISION

IN RE: FEMA TRAILER                                          MDL NO. 1873
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION                                 SECTION “N-5"

                                                             JUDGE ENGELHARDT
                                                             MAG. JUDGE CHASEZ

THIS DOCUMENT IS RELATED:
Page v. R-Vision, Inc., et al,
E.D. La. Case No. 09-3307

******************************************************************************

      FIRST SUPPLEMENTAL AND AMENDING COMPLAINT FOR DAMAGES


       Named Plaintiff through undersigned counsel respectfully supplements and amends her

original Complaint in the following respects:



   1. By naming the United States of America, through the Federal Emergency Management

       Agency, as a defendant in this matter.

   2. By naming Liberty Insurance Corporation as a defendant in this matter.

   3. By adding the following under Section I, Parties,

           a. The Defendant United States of America is sued herein as acting through the

               Federal Emergency Management Agency (FEMA), and both are referred to

               interchangeably herein as the “Federal Government,” “Government” and/or

               “FEMA”.

           b. Upon information and belief, Defendant Liberty Insurance Corporation, also

               known as Liberty Mutual Group, (hereinafter, “Liberty”), is, upon information

               and belief, an entity incorporated in the state of Massachusetts, with its principle
Case 2:07-md-01873-KDE-MBN Document 14419 Filed 06/18/10 Page 2 of 17




          place of business in the state of Massachusetts, licensed to do business in the State

          of Louisiana and in good standing. Further, defendant Liberty provided insurance

          coverage for the risks involved herein of R-Vision, Inc. (hereinafter, “R-Vision”),

          which manufactured and supplied FEMA trailers or housing units as defined

          below pursuant to contracts with FEMA for use in the State of Louisiana.

4. By adding the following under Section II, Jurisdiction and Venue,

       a. This Court has subject matter jurisdiction over the United States of America and

          FEMA pursuant to 28 U.S.C. §§1346 and 2671, et seq..

       b. Liberty is subject to the in personam jurisdiction of this Court because it and its

          insured client, R-Vision, does sufficient business in the State of Louisiana and

          within this federal district to confer same, and at all relevant times hereto engaged

          in commerce both in this federal district and in the State of Louisiana with respect

          to the activities and claims which are the subject of this litigation.

5. By adding the following under Section III, Facts and General Allegations.

       a. The Federal Government has been aware for years that formaldehyde is used in

          certain construction materials used in manufactured housing, has regulated

          emissions standards for HUD-regulated mobile homes, has, since the hurricanes,

          adopted the HUD emissions regulations for travel trailer purchase specifications,

          and has known for over thirty years of the relationship between formaldehyde

          emissions in indoor environments and health problems associated therewith. See

          Statement of R. David Paulison, Administrator, Federal Emergency Management

          Agency, Department of Homeland Security, before the Committee on Oversight
Case 2:07-md-01873-KDE-MBN Document 14419 Filed 06/18/10 Page 3 of 17




         and Government Reform, U.S. House of Representatives, July 19, 2007, available

         at http://oversight.house.gov/documents/20070719131219.pdf.

      b. Although, as alleged above, FEMA has long been aware of the presence of

         formaldehyde in certain construction materials used in manufactured housing,

         including these housing units, and specifically was aware of the published dangers

         associated with the “out” or “off-gassing” or the gradual release into the

         atmosphere of formaldehyde, upon information and belief, in March of 2006, a

         family in Mississippi reported the results of independent testing and health

         complaints which they related to high levels of formaldehyde.

      c. In fact, the Federal Government was conducting initial formaldehyde air sampling

         of the subject housing units at FEMA staging facilities in Mississippi as early as

         October 11, 2005 and as late as Jan. 17, 2006. The sampling results showed that

         the levels detected in nearly every trailer exceeded the ATDSR minimum risk

         levels associated with exposures up to and exceeding 14 days, that most levels

         exceeded the EPA recognized level at which acute health effects can manifest,

         and that several exceeded the OSHA workplace maximum levels. See Response

         of the U.S. Department of Labor, Occupational Safety and Health Administration

         to Freedom of Information Act Request submitted by a plaintiff herein, November

         16, 2007.

      d. Nonetheless, even though the Government was actively testing for and aware of

         the dangerous levels of formaldehyde present in housing units scheduled for

         delivery to the Plaintiff, the Inspector General of the Department of Homeland

         Security,    testifying before the Committee on Homeland Security and
Case 2:07-md-01873-KDE-MBN Document 14419 Filed 06/18/10 Page 4 of 17




         Governmental Affairs of the United States Senate, approximated that as of

         February 13, 2006, a little under six months post-Katrina, 75,000 travel trailers

         had been delivered to Plaintiff. See Statement of Richard L. Skinner, Inspector

         General, U.S. Department of Homeland Security Before the Committee on

         Homeland Security and Governmental Affairs, U.S. Senate, February 13, 2006,

         available at http://www.dhs.gov/xlibrary/assets/Skinner-021306.pdf.

      e. The Federal Government also continued to supply the defective and dangerous

         housing units after March of 2006.

      f. The Federal Government continued to supply the defective and dangerous

         housing units even though the Sierra Club publicly announced the initiation of its

         own testing of occupied housing units and, in April of 2006, reported the results

         which reflected formaldehyde levels above the threshold that the EPA warns can

         cause acute health effects in humans in 83% of the trailers tested. Union of

         Concerned Scientists, supra.

      g. The Federal Government continued to supply the defective and dangerous

         housing units even though the Federal Government, through FEMA, in March of

         2006, conducted formaldehyde testing of unoccupied housing units at the Purvis,

         Mississippi staging area, and tested and obtained the results of an occupied

         Mississippi trailer on April 6, 2006, which reflected the presence of formaldehyde

         at twelve times the EPA’s value. Union of Concerned Scientists, supra, and

         Exhibits                    B                    (available                     at

         http://oversight.house.gov/documents/20070719113015.pdf) and D (available at

         http://oversight.house.gov/documents/20070719113219.pdf) attached thereto.
Case 2:07-md-01873-KDE-MBN Document 14419 Filed 06/18/10 Page 5 of 17




      h. The Federal Government continued to supply the defective and dangerous

         housing units even though the Federal Government had been notified on a number

         of occasions in May and June 2006 regarding residents’ concerns over

         formaldehyde emissions in their housing units. Union of Concerned Scientists,

         supra,          and           Exhibits           E            (available            at

         http://oversight.house.gov/documents/20070719113322.pdf),        I     (available   at

         http://oversight.house.gov/documents/20070719113515.pdf) and M (available at

         http://oversight.house.gov/documents/20070719113728.pdf) attached thereto.

      i. While complaints of formaldehyde exposure continued to be reported to the

         Federal Government and evidence supporting the existence of dangerous levels of

         formaldehyde present in the housing units was uncovered, the Federal

         Government intentionally avoided undertaking any comprehensive testing of their

         own because it wanted to avoid liability for the problem, as stated in emails from

         the FEMA Office of General Counsel (OGC) in June of 2006, “Do not initiate any

         testing until we give the OK. While I agree that we should conduct testing, we

         should not do so until we are fully prepared to respond to the results. Once you

         get results and should they indicate some problem, the clock is ticking on our duty

         to respond to them.” Another email repeats these concerns, reading “OGC has

         advised that we do not do testing, which would imply FEMA's ownership of the

         issue.”   Union of Concerned Scientists, supra, and Supplemental A (various

         emails available at http://oversight.house.gov/documents/20070809120917.pdf)

         and       Supplemental        B       (various       emails          available      at

         http://oversight.house.gov/documents/20070809120940.pdf) attached thereto.
Case 2:07-md-01873-KDE-MBN Document 14419 Filed 06/18/10 Page 6 of 17




      j. The Named Plaintiff avers that, even as the Plaintiff was being placed at risk in

         unsafe temporary housing, the Federal Government had reviewed the results of all

         earlier testing and complaints of formaldehyde associated with the housing units

         and were actively conferring with one or more of the manufacturers concerning

         formaldehyde exposure in the housing units and how best to deal with the

         publicity fall-out as the media reports of same increased.

      k. FEMA participated in an inter-agency meeting with the EPA and the Centers for

         Disease Control and Prevention (CDC) in July of 2006, during which senior EPA

         officials advised FEMA that the “health base level” for formaldehyde might be

         much lower than previously expected, with anticipated levels being more than 100

         times higher. The discussions during this conference were more “strategic” in

         nature, with the EPA warning against the “the advisability of testing at all”

         concerned that the data would have to be released to the public and that the media

         would characterize the findings in the worst possible light. Union of Concerned

         Scientists,   supra,   and     Exhibit    R    (various      emails   available   at

         http://oversight.house.gov/documents/20070719114058.pdf) attached thereto.

      l. FEMA and EPA senior leadership instead agreed to test ventilation methods on

         unoccupied trailers. This testing methodology completely failed to simulate the

         living conditions of a trailer resident, so results, which would not be released for

         another seven to eight months, were useless for determining a policy to protect

         trailer residents. This testing was conducted by FEMA and EPA in September

         and October of 2006 at a trailer staging area located in Baton Rouge, Louisiana.

         Union of Concerned Scientists, and Exhibit R attached thereto, supra. See also
Case 2:07-md-01873-KDE-MBN Document 14419 Filed 06/18/10 Page 7 of 17




         Original Health Consultation: Formaldehyde Sampling at FEMA Temporary

         Housing Units, Agency for Toxic Substances and Disease Registry, Feb 1, 2007,

         available

         athttp://www.atsdr.cdc.gov/HAC/pha/fema_housing_formaldehyde/formaldehyde

         _report_0507.pdf.

      m. This testing methodology did not simulate the living conditions, temperatures,

         humidities, standard ventilation practices, or timescales at which residents lived in

         the trailers. It also did not take into account that the trailer building materials

         continue to emit formaldehyde for four to five years.          Union of Concerned

         Scientists, supra.

      n. FEMA and FEMA’s lawyers purposefully interfered with the design and

         implementation of the earlier testing of the housing units supplied in the wake of

         the hurricanes in order to avoid legal liability for injuries to Plaintiff herein as a

         result of their exposure to formaldehyde. FEMA’s activities, which included

         hiding, manipulating and ignoring the extant science and scientific work and

         concerns of federal scientists in other agencies, began immediately after FEMA

         began to receive complaints from trailer residents concerning formaldehyde

         fumes in 2006.       See correspondence from U.S. House of Representatives,

         Committee on Science and Technology, to Michael Chertoff, Secretary, U.S.

         Department of Homeland Security, January 28, 2008.

      o. FEMA further manipulated the governmental testing by involving a little-known

         office of the CDC, the ATSDR, to analyze the testing data, and explicitly sought

         to ensure that no long-term exposure considerations would be included in the
Case 2:07-md-01873-KDE-MBN Document 14419 Filed 06/18/10 Page 8 of 17




         health consultation by removing the consultation from the normal ATSDR review

         process so that scientists who had specifically recommended looking at long-term

         exposure effects were excluded from the review. FEMA did so in order to avoid

         negative publicity and legal liability in connection with the presence of

         formaldehyde in the housing units. See correspondence from U.S. House of

         Representatives, Committee on Science and Technology, to Michael Chertoff,

         January 28, 2008 and to Dr. Howard Frumkin, Director, National Center for

         Environmental Health/Agency for Toxic Substances and Disease Registry,

         January 28, 2008.

      p. FEMA’s manipulation of the data was evidenced in the testing designed and

         implemented by FEMA through the ATSDR in July of 2006. The testing results

         of the study showed high levels of formaldehyde in nearly all of the trailers, yet

         the ATSDR, at FEMA’s urging, did not use as its “level of concern” its own

         exposure limit of 0.008 ppm for 365 days or more, but arbitrarily chose a limit of

         0.3 ppm as its “level of concern,”a level nearly 400 times the ATSDR’s

         annualized exposure limit. Yet even applying this “level of concern,” the average

         sampling results still were higher. See THE SERIOUS PUBLIC HEALTH ISSUES

         RESULTING FROM FORMALDEHYDE EXPOSURES WITHIN FEMA TRAVEL TRAILERS

         ISSUED HURRICANE DISASTER VICTIMS, AND RECOMMENDED ACTION ITEMS,

         Testimony of Mary C. DeVany before the Committee on Oversight and

         Government Reform, U.S. House of Representatives, July 19, 2007, at 7,

         available at http://oversight.house.gov/documents/20070719102502.pdf.
Case 2:07-md-01873-KDE-MBN Document 14419 Filed 06/18/10 Page 9 of 17




      q. Indeed, in testimony before Congress, independent industrial hygienist Mary

         DeVany described the FEMA testing and analysis process by stating “All I can

         say, in my professional opinion, is that they did this in order to minimize the

         actual extent of the problems in these trailers. I have no other conclusion I can

         draw… I think it was a complete violation of our professional code of ethics."

         Oral testimony of Mary C. DeVany before the House Committee on Oversight

         and Governmental Reform. July 19, 2007 at 107-108 of the full hearing transcript,

         available at http://oversight.house.gov/documents/20071114164004.pdf.

      r. On March 17, 2007, Dr. Mark Klein, of the ATSDR, at the direction of Dr.

         Frumkin, sent a letter to FEMA’s counsel advising, as had Dr. DeRosa, that the

         February Health Consultation was “possibly misleading and a threat to public

         health” for failure to disclose the carcinogenic status of formaldehyde and that

         there are no safe exposure levels.

      s. Despite this information, FEMA and the ATSDR did not revise the original

         Health Consultation until October of 2007 to include the warning that the original

         Health Consultation“did not sufficiently discuss the health implications of

         formaldehyde exposure and included language that may have been unclear,

         leading to potentially incorrect or inappropriate conclusions.” See An Update and

         Revision of ATSDR’s February 2007 Health Consultation: Formaldehyde

         Sampling of FEMA Temporary-Housing Trailers; Baton Rouge, Louisiana,

         September-October,                   2006,             available                at

         http://www.atsdr.cdc.gov/substances/formaldehyde/public_assessment.html.
Case 2:07-md-01873-KDE-MBN Document 14419 Filed 06/18/10 Page 10 of 17




      t. The Federal Government, through FEMA, deliberately ignored and/or rejected

         objective, scientific standards in the design and implementation of its testing

         procedures, which resulted in the prolongation of the Plaintiff’s exposure to

         dangerous levels of formaldehyde in the housing units, and causing them serious

         injuries.

      u. It was not until December of 2007 that the Federal Government initiated testing of

         occupied housing units. Apparently, FEMA requested the CDC to conduct testing

         of a random sample of 519 housing units in Louisiana and Mississippi between

         December 21, 2007 and January 23, 2008, the stated purpose of which was to

         assess levels of formaldehyde in indoor air occupied FEMA-supplied housing

         units. See Statement of Howard Frumkin, M.D., DrPH, Director, National Center

         for Environmental Health/Agency for Toxic Substances and Disease Registry,

         Centers for Disease Control and Prevention, U. S. Department of Health and

         Human Services, CDC’S RESPONSE TO HEALTH CONCERNS RELATED TO FEMA-

         PROVIDED TRAVEL TRAILERS AND MOBIL HOMES IN THE GULF COAST REGION,

         March 4, 2008, at 1, 3-4.

      v. The CDC testing revealed the following important findings: (1) the formaldehyde

         levels were higher than typical levels of U.S. indoor exposure in single-family

         homes and apartments; (2) levels ranged from 3 parts per billion (ppb) to 590 ppb,

         with the average levels in all units measuring 77 ppb, the latter being higher than

         U. S. background levels in single-family homes and apartments; (3) the levels

         recorded in many of the units could affect the occupants’ health; (4) the

         contemporary measured levels are likely to under-represent long-term exposures
Case 2:07-md-01873-KDE-MBN Document 14419 Filed 06/18/10 Page 11 of 17




         because formaldehyde levels tend to be higher in newer housing units and during

         warmer weather; (5) higher indoor temperatures were associated with higher

         formaldehyde levels, independent of unit make or model; and, (6) formaldehyde

         levels varied by type of housing unit (mobile home, park model, and travel

         trailer), but all types tested had elevated levels compared to the data on single-

         family homes and apartments. Id. at 4.

      w. The CDC’s recommendations as a result of this testing included the following: (1)

         move quickly to relocate residents before the weather in the region warms up; (2)

         FEMA and the CDC to consider establishment of a registry to conduct long-term

         health monitoring of children and others who resided in FEMA- provided housing

         units in the Gulf Coast Region; (3) families still living in FEMA-provided

         housing units should spend as much time outdoors as possible and maintain the

         temperature inside the units at the lowest comfortable level as well as ventilate the

         unit; and, (4) establish available construction practices which could assure safe

         and healthy conditions. Id. at 5-6, 11.

      x. As a result of this round of testing, the Federal Government implemented a

         program which essentially entails removing the remaining residents from the

         subject housing units and placing them into other, safe, forms of housing. The

         Federal Government’s action in this regard was the result of pressure imposed on

         it to act through various Congressional investigations into the Government’s

         implementation of the “direct assistance” program under the Stafford Act, this

         litigation, and media coverage.
Case 2:07-md-01873-KDE-MBN Document 14419 Filed 06/18/10 Page 12 of 17




       y. The Federal Government’s actions with regard to the response to the early reports

           of formaldehyde emissions, hiding, manipulating and ignoring the extant science

           and scientific work and concerns of federal scientists in other agencies regarding

           its testing protocols and its public obfuscation of testing results, are not the kind

           of actions which involve decisions grounded in social, economic, or political

           policy. Rather, the Federal Government’s actions and decisions were all made

           with a view toward avoiding negative publicity and legal liability.

       z. Additionally and/or in the alternative the Federal Government ignored, avoided

           and simply failed to adhere to and apply accepted professional and scientific

           standards in addressing and/or removing the health hazards posed by

           formaldehyde emissions in the housing units it provided.

       aa. At all pertinent times, Liberty had in full force and effect a liability policy or

           policies of insurance which provided liability insurance coverage applicable to the

           property and things, matters, persons, acts, and omissions of all involved herein

           and as such, defendant, Liberty, is directly liable to the Named Plaintiff, pursuant

           to the provisions of Title 22, Section 655 of the Louisiana Revised Statutes.

6. By adding a Count IV to reflect as follows,

            CAUSE OF ACTION AGAINST THE FEDERAL GOVERNMENT

           a. At all times herein, the Federal Government was under a duty to use due care

              and caution for the safety of the foreseeable users and occupants of the subject

              housing units, which duty extended to the Named Plaintiff herein.
Case 2:07-md-01873-KDE-MBN Document 14419 Filed 06/18/10 Page 13 of 17




         b. The Federal Government was obligated to promptly warn the Named Plaintiff

            of any defects in the housing unit which could cause harm and of which the

            Federal Government was aware.

         c. The Federal Government, after becoming aware of the potential for such

            harm, violated this duty to the Named Plaintiff, rendering the Federal

            Government negligent, grossly negligent, reckless, willful and/or wanton.

         d. As a direct and proximate result of the acts and/or omissions of the Federal

            Government, as well as its violation(s) of state and federal laws, the Named

            Plaintiff has suffered, and will continue to suffer harm and injuries, and is

            entitled to recover damages from the Federal Government.

         e. Further, since the Plaintiff is within the class and category of individuals

            meant to be protected by the state and federal statutory and regulatory laws

            which the Federal Government violated, Plaintiff specifically plead the

            application of the doctrine of negligence per se.

         f. The Federal Government was negligent and at fault in the following non-

            exclusive particulars:


            (i)    In failing to warn the Named Plaintiff of the unreasonably dangerous

                   nature of the housing unit which that Plaintiff occupied.


            (ii)   In failing to promptly remedy the dangerous nature of each such

                   housing unit, on becoming aware of the formaldehyde dangers

                   associated with the unit.
Case 2:07-md-01873-KDE-MBN Document 14419 Filed 06/18/10 Page 14 of 17




               (iii)   In failing to timely implement adequate safety measures and

                       procedures to address the defects in the housing unit of the Named

                       Plaintiff, on becoming aware of the formaldehyde danger associated

                       with the unit.


               (iv)    Such other actions of negligence and fault as will be shown at the trial

                       of this matter.


7. By amending Section IV: Compensatory Damages to read as follows,

       a.   In addition to and by way of summarizing the compensatory damages prayed for

            herein, Named Plaintiff avers that the defendants, the United States of America

            through FEMA and Liberty as well as Fluor, individually and/or jointly are

            responsible for all damages which Named Plaintiff herein has suffered and

            continues to suffer as a consequence of defendants’ acts and/or omissions as pled

            herein, which damages include, but are not limited to, past and future physical

            injuries, past and future mental and physical pain and suffering, past and future

            physical impairments and disability, past and future reasonable and necessary

            medical expenses, past and future loss of earning capacity, past and future loss of

            enjoyment and quality of life and other damages and injuries, loss of consortium,

            and loss of use and/or opportunity to use safe and adequate shelter during the

            period of displacement from a natural disaster, as well as, all general, special,

            incidental and consequential damages as shall be proven at the time of trial.

8. By amending the Prayer for Relief to reflect the following,
Case 2:07-md-01873-KDE-MBN Document 14419 Filed 06/18/10 Page 15 of 17




         WHEREFORE, the Named Plaintiff prays that Liberty, Fluor, and the Federal

         Government be served with a copy of this Complaint, and that, after due

         proceedings:


             i. there be a judgment herein in favor of Named Plaintiff and against

                Defendants for all compensatory damages together will legal interest

                thereon from the date of judicial demand until paid, all costs and expenses

                of these proceedings, and attorneys’ fees, declaring that the defendants are

                liable for all applicable damages and thereafter;


            ii. there be specially included in the judgment in the Named Plaintiff’s favor,

                provisions for the following damages and relief as found applicable and

                supported by the evidence:


                   1. past and future physical injuries,


                   2. past and future mental and physical pain and suffering,


                   3. past and future physical impairments and disability,


                   4. past and future reasonable and necessary medical expenses,


                   5. past and future loss of earning capacity,


                   6. past and future loss of enjoyment and quality of life,


                   7. loss of consortium and/or society,
  Case 2:07-md-01873-KDE-MBN Document 14419 Filed 06/18/10 Page 16 of 17




                           8. compensable out-of-pocket expenses related to defendants’

                               wrongdoing, and


                           9. costs of court,


                  iii. all other general, equitable, and further relief as the Court may deem just

                       and proper.


   9. As no answer has been filed in the above captioned matter, the Named Plaintiff is entitled

       to amend her Complaint as a matter of course pursuant to Rule 15(a) of the Federal Rules

       of Civil Procedure.



       WHEREFORE, plaintiff respectfully supplements the original Complaint in the foregoing

respects, and otherwise reiterates and re-avers all of the allegations, claims and prayers for relief

contained therein.



                                       Respectfully submitted:

                                       GAINSBURGH, BENJAMIN, DAVID,
                                       MEUNIER & WARSHAUER, L.L.C.

                                       BY:      s/Gerald E. Meunier
                                                GERALD E. MEUNIER, #9471
                                                JUSTIN I. WOODS, #24713
                                                Gainsburgh, Benjamin, David, Meunier &
                                                Warshauer, L.L.C.
                                                2800 Energy Centre, 1100 Poydras Street
                                                New Orleans, Louisiana 70163
                                                Telephone: 504/522-2304
                                                Facsimile:    504/528-9973
                                                gmeunier@gainsben.com
  Case 2:07-md-01873-KDE-MBN Document 14419 Filed 06/18/10 Page 17 of 17




PLEASE SERVE:

Liberty Mutual Insurance Company
through its registered agent for service:
Corporation Service Company
320 Somerulos St.
Baton Rouge, LA 70802

Fluor Enterprises, Inc.
Through its Agent for Service of Process
Corporation Service Company
320 Somerulos Street
Baton Rouge, LA 70802

Fluor Enterprises, Inc.
Through its Counsel of Record
Mr. Charles Penot
Middleberg Riddle and Gianna
KPMG Centre, Suite 2400
717 Harwood
Dallas, TX 75201

The United States of America, Department of Justice
Through the United States Attorney General
Honorable Eric Holder
U.S. Department of Justice
950 Pennsylvania Avenue, NW
Washington, DC 20530-0001

United States of America
Through the Office of the U.S. Attorney for the Eastern District of Louisiana
Jim Letten, United States Attorney
Hale Boggs Federal Building
500 Poydras Street, Suite B-210
New Orleans, LA 70130

Federal Emergency Management Agency (FEMA)
Through the Office of the Director
Craig Fugate, Director
500 C Street SW
Washington, DC 20472
